Case 2:05-Cv-02264-.]PI\/|-tmp Document 5 Filed 06/30/05 Page 1 of 2 Page“|D 5

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DOUGLAS TINDALL, JUDGMENT IN A CIVIL CASE
Plaintiff,
'V .
SHELBY COUNTY, et al., CASE NO: 05-2264 Ml/P
Defendants.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDEREDlr ADJUDGED, AND DECREED that, in
accordance with the Order Correcting the Docket, Order Assessing
$250 Filing Fee, Order of Dismissal, Order Certifying Appeal Not

Taken in Good Faith and Notice of Appellate Filing Fee, entered
June §LQ, 2005, this case is DISMISSED.

APPROVED:

QQ m MLQ.k

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02264 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

Douglas Tindall
72879

1045 Mullins Station Rd.

Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

